Case: 3:18-cv-00834-wmc Document #: 1-1 Filed: 10/11/18 Page 1 of 17




                                                          EXHIBIT 1 - 001
Case: 3:18-cv-00834-wmc Document #: 1-1 Filed: 10/11/18 Page 2 of 17




                                                          EXHIBIT 1 - 002
Case: 3:18-cv-00834-wmc Document #: 1-1 Filed: 10/11/18 Page 3 of 17




                                                          EXHIBIT 1 - 003
Case: 3:18-cv-00834-wmc Document #: 1-1 Filed: 10/11/18 Page 4 of 17




                                                          EXHIBIT 1 - 004
Case: 3:18-cv-00834-wmc Document #: 1-1 Filed: 10/11/18 Page 5 of 17




                                                          EXHIBIT 1 - 005
Case: 3:18-cv-00834-wmc Document #: 1-1 Filed: 10/11/18 Page 6 of 17




                                                          EXHIBIT 1 - 006
Case: 3:18-cv-00834-wmc Document #: 1-1 Filed: 10/11/18 Page 7 of 17




                                                          EXHIBIT 1 - 007
Case: 3:18-cv-00834-wmc Document #: 1-1 Filed: 10/11/18 Page 8 of 17




                                                          EXHIBIT 1 - 008
Case: 3:18-cv-00834-wmc Document #: 1-1 Filed: 10/11/18 Page 9 of 17




                                                          EXHIBIT 1 - 009
Case: 3:18-cv-00834-wmc Document #: 1-1 Filed: 10/11/18 Page 10 of 17




                                                          EXHIBIT 1 - 010
Case: 3:18-cv-00834-wmc Document #: 1-1 Filed: 10/11/18 Page 11 of 17




                                                          EXHIBIT 1 - 011
Case: 3:18-cv-00834-wmc Document #: 1-1 Filed: 10/11/18 Page 12 of 17




                                                          EXHIBIT 1 - 012
Case: 3:18-cv-00834-wmc Document #: 1-1 Filed: 10/11/18 Page 13 of 17




                                                          EXHIBIT 1 - 013
Case: 3:18-cv-00834-wmc Document #: 1-1 Filed: 10/11/18 Page 14 of 17




                                                          EXHIBIT 1 - 014
Case: 3:18-cv-00834-wmc Document #: 1-1 Filed: 10/11/18 Page 15 of 17




                                                          EXHIBIT 1 - 015
Case: 3:18-cv-00834-wmc Document #: 1-1 Filed: 10/11/18 Page 16 of 17




                                                          EXHIBIT 1 - 016
Case: 3:18-cv-00834-wmc Document #: 1-1 Filed: 10/11/18 Page 17 of 17




                                                          EXHIBIT 1 - 017
